Case: 2:20-cv-00025-WOB-CJS Doc #: 65-18 Filed: 12/20/21 Page: 1 of 2 - Page ID#:
                                    1162




                            EXHIBIT J
                             CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER
       Case:
            1DWLYH 2:20-cv-00025-WOB-CJS
            0HVVDJHV
                                  Number Redacted Doc   #: 65-18 'LUHFWLRQ
                                                   7LPHVWDPS
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                                                                     ,QFRPLQJ
                                  1LFN6DQGPDQQ    30 87& 1163 %RG\
                                                                    RZQHU                                     &DQZHDOODSSUHFLDWHName DQG,VFUHDPLQJJUDEKLVGLFN
                                                                   Name/Number Redacted                       DQGWZLVWLW

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  Exhibit #
                       exhibitsticker.com




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